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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

Johnny Murphy                                   Case No.1:10-cv-8049

       Plaintiff,

v.                                                   STIPULATION OF DISMISSAL
                                                        WITHOUT PREJUDICE
NCO Financial Systems, Inc.

       Defendant.

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the parties hereby stipulate to

dismiss the present action without prejudice, each party to bear its own fees and costs.



RESPECTFULLY SUBMITTED,

Legal Helpers, P.C.                                  Sessions, Fishman, Nathan & Israel, LLC

By: /s/ Timothy J. Sostrin                           By: /s/ with consent of Nicole Marie Barrett
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Attorneys for Plaintiff                              Attorneys for Defendant
     Case: 1:10-cv-08049 Document #: 6 Filed: 02/22/11 Page 2 of 2 PageID #:10




                                CERTIFICATE OF SERVICE

       I hereby certify that on February 22, 2011, I electronically filed the foregoing Stipulation

through the court’s CM/ECF system, which will perfect service upon the following:

Nicole M. Barrett
Sessions, Fishman, Nathan & Israel, LLC
nbarrett@sessions-law.biz

                                                             /s/ Timothy J. Sostrin
